
724 S.E.2d 522 (2012)
STATE of North Carolina
v.
Ricky Leander GAMBLE.
No. 113P12.
Supreme Court of North Carolina.
April 12, 2012.
Richard A. Graham, Assistant Attorney General, for State of North Carolina.
Ricky Leander Gamble, for Gamble, Ricky Leander.
Howard S. Boney, Jr., District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 14th of March 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*523 "Denied by order of the Court in conference, this the 12th of April 2012."
